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    DATE      AMOUNT          ACTIVITY                     DESCRIPTION                           REF#/NOTE         DATE OUT         DESCRIPTION                               TO
 12/4/2012   ($535,000.00)     Debit             Account Transfer to XXXXXX9946                Royal Palm Dev I
12/13/2012   ($121,322.20)     Debit             Account Transfer to XXXXXX9946                Royal Palm Dev I
12/18/2012    $499,920.00      Credit          Fed Wire in 016453 (Halil Erseven‐62)
12/21/2012   ($100,000.00)     Debit             Account Transfer to XXXXXX8485                     USREDA
  1/2/2013   ($100,000.00)     Debit             Account Transfer to XXXXXX8485                     USREDA          Various       Various deductions
  1/8/2013   ($250,000.00)     Debit             Account Transfer to XXXXXX9946                 Royal Palm Dev I
 1/11/2013   ($500,000.00)     Debit               Fed Wire Out XXXXXXXX9205                    Galle Law Group
 1/18/2013   ($500,000.00)     Debit               Fed Wire Out XXXXXXXX9205                    Galle Law Group
 1/24/2013 ($1,000,000.00)     Debit             Account Transfer to XXXXXX9946                 Royal Palm Dev I
 1/30/2013   ($250,000.00)     Debit             Account Transfer to XXXXXX9946                 Royal Palm Dev I
  2/5/2013   ($500,000.00)     Debit               Fed Wire Out XXXXXXXX9205                    Galle Law Group
 4/10/2013   ($250,000.00)     Debit             Account Transfer to XXXXXX9946                 Royal Palm Dev I
 4/15/2013    ($40,000.00)     Debit             Account Transfer to XXXXXX9946                 Royal Palm Dev I
 4/24/2013   ($130,000.00)     Debit             Account Transfer to XXXXXX9946                 Royal Palm Dev I
 4/25/2013    $500,000.00      Credit              Fed Wire In 019551 (Jing Tan)                    PHH LLLP
 4/26/2013   ($500,000.00)     Debit             Account Transfer to XXXXXX8485                     USREDA          Various       Various deductions
 7/16/2013    $500,000.00      Credit                 Fed Wire In (Sina Salimi)                     PHH LLLP
  8/1/2013    $500,000.00      Credit                Fed Wire In (Feng Fuo‐43)                      PHH LLLP
  8/1/2013    $500,000.00      Credit    Fed Wire In 033015 (Digital Convergence/Musa Alaba)        PHH LLLP
  8/5/2013    $500,000.00      Credit            Fed Wire In 026275 (Mingye Man)                    PHH LLLP
 8/13/2013    $500,000.00      Credit                 Fed Wire In (Li Lan‐01)                       PHH LLLP
 8/14/2013   ($600,000.00)     Debit              Account Transfer to XXXXXX9946                Royal Palm Dev I
 8/26/2013   ($900,000.00)     Debit               Fed Wire Out XXXXXXXX9205                    Galle Law Group
 8/28/2013 ($2,000,000.00)     Debit                  Fed Wire Out 2600443                           LRE PA         9/3/2013              Wire                      160 RP LLC ($2,580,000)
 9/9/2013    ($500,000.00)     Debit             Account Transfer To XXXXXX8336                     PHH LLLP        9/9/2013    Transfer to XXXXXX8485                   USREDA PNC
10/8/2013    ($500,000.00)     Debit             Account Transfer To XXXXXX8336                     PHH LLLP       10/8/2013    Transfer to XXXXXX8485                   USREDA PNC
10/15/2013   ($500,000.00)     Debit             Account Transfer To XXXXXX8485                     USREDA           Various      Various deductions
 11/1/2013    $500,100.00      Credit          Fed Wire In 018827 (Yuanbo Wang‐50)                  PHH LLLP
 11/7/2013    $500,100.00      Credit         Fed Wire In 007191 (Zhang Wenhao‐18)                  PHH LLLP
 11/7/2013    $500,100.00      Credit             Fed Wire In 007192 (Shi Sha‐19)                   PHH LLLP
 11/7/2013    $500,000.00      Credit            Fed Wire In 004226 (Tan Ying‐02)                   PHH LLLP
11/12/2013    $500,000.00      Credit                Fed Wire In (Liu Danqing)                      PHH LLLP
                                                                                                  New Haven
11/13/2013     ($50,000.00)    Debit                 Fed Wire Out XXXXXX5421                   Contracting South
                                                                                                                                Transfer to XXXXXX8485
11/15/2013   ($450,000.00)     Debit              Account Transfer To XXXXXX8336                   PHH LLLP        11/15/2013       & Wire 027091             USREDA PNC ($270,000)/($180,000)
11/19/2013    $500,000.00      Credit            Fed Wire In 005976 (Xiong Tao‐03)                 PHH LLLP
                                                                                                                                    Wire 027285 &
11/26/2013 ($3,500,000.00)     Debit              Account Transfer To XXXXXX8336                   PHH LLLP        11/26/2013   Transfer to XXXXXX8485   LRE PA ($3,337,216.67/ USREDA PNC ($162,000)
11/26/2013   ($500,000.00)     Debit              Account Transfer To XXXXXX8336                   PHH LLLP        11/26/2013        Wire 026265                          160 RP LLC
11/27/2013    $500,000.00      Credit          Fed Wire In 004310 (Feng Junqiang‐04)               PHH LLLP
11/29/2013    $500,000.00      Credit           Fed Wire In 020521 (Sun Tingting‐45)               PHH LLLP
 12/2/2013    $500,000.00      Credit          Fed Wire In 030990 (Luan Tonghui‐48)                PHH LLLP
12/10/2013   ($500,000.00)     Debit              Account Transfer To XXXXXX8336                   PHH LLLP        12/10/2013        Wire 010666         Wellington Asset Holdings 237175617 (JPMorgan)
12/16/2013    $500,015.00      Credit             Account Transfer to XXXXXX8485                   USREDA
12/17/2013    $500,015.00      Credit              Fed Wire In 006065 (Wang Jian)                  PHH LLLP



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12/18/2013    $500,000.00     Credit                  Fed Wire In (Wang Xiaonan)             PHH LLLP
12/19/2013 ($2,500,000.00)    Debit                     Fed Wire Out 2600443                  LRE PA      12/30/2013           Wire             Jones Foster Johnston & Stubbs (Matthews)
12/23/2013    $500,015.00     Credit              Fed Wire In 007437 (Yu Zheng‐44)           PHH LLLP
12/23/2013    $500,015.00     Credit               Fed Wire In 007448 (Sun Xiao‐46)          PHH LLLP
12/23/2013    $500,015.00     Credit               Fed Wire In 007455 (Li Yawen‐47)          PHH LLLP
12/24/2013    $500,000.00     Credit         Fed Wire In 030326 (Mohammad Zargar‐54)         PHH LLLP
12/24/2013     $49,980.00     Credit                 Fed Wire In 006943 (Li Xiang)           PHH LLLP
12/24/2013     $49,980.00     Credit                     Fed Wire In (Li Xiang)              PHH LLLP
12/26/2013     $49,983.00     Credit                     Fed Wire In (Li Xiang)              PHH LLLP
12/26/2013 ($3,000,000.00)    Debit                     Fed Wire Out 2600443                  LRE PA      12/30/2013           Wire             Jones Foster Johnston & Stubbs (Matthews)
12/30/2013     $49,978.00     Credit                 Fed Wire In 007787 (Li Xiang)           PHH LLLP
12/30/2013     $49,978.00     Credit                 Fed Wire In 007788 (Li Xiang)           PHH LLLP
  1/3/2014     $49,978.00     Credit                 Fed Wire In 007689 (Li Xiang)           PHH LLLP
  1/6/2014     $49,988.00     Credit                 Fed Wire In 006809 (Li Xiang)           PHH LLLP
  1/6/2014     $49,978.00     Credit                 Fed Wire In 008131 (Li Xiang)           PHH LLLP
  1/6/2014   ($300,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP      1/6/2014    Transfer to XXXXXX8485                 USREDA PNC
  1/9/2014     $49,988.00     Credit                 Fed Wire In 004312 (Li Xiang)           PHH LLLP
 1/10/2014     $49,988.00     Credit                 Fed Wire In 004531 (Li Xiang)           PHH LLLP
 1/15/2014    $500,100.00     Credit           Fed Wire In 007190 (Li Dongsheng‐53)        W007190 0115
 1/23/2014        $181.00     Credit             Account Transfer From XXXXXX8469              SARC
 1/27/2014    $500,100.00     Credit          Fed Wire In 008427 (ZHU Dongsheng‐36)        W008427 0127
 1/28/2014   ($200,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     1/28/2014      Fed Wire Out 16087                  LRE 1st United
 1/29/2014   ($450,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     1/29/2014    Transfer to XXXXXX8485                 USREDA PNC
 1/29/2014   ($500,000.00)    Debit           Fed Wire Out 011706 (refund‐Sina Salimi)     W011706 0129
  2/1/2014    $499,968.00     Credit     Fed Wire In 024698 (Mohammadreza Sedegaht‐60)     W024698 0203
 2/10/2014   ($500,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     2/10/2014     Fed Wire Out 023795                  LRE 1st United
 2/19/2014    $500,000.00     Credit          Fed Wire In 016220 (Reza Siamak Nia‐56)      W016220 0219
 2/20/2014   ($500,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     2/20/2014     Fed Wire Out 022684                160 RP LLC Regions
 2/21/2014    $500,041.41     Credit            Fed Wire In 017131 (YE Chunning‐41)        W017131 0221
 2/26/2014    $500,085.00     Credit             Fed Wire In 008800 (LI Chao Hui‐38)       W008800 0226
 2/26/2014   ($500,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     2/26/2014     Fed Wire Out 027657                160 RP LLC Regions
  3/3/2014    $500,000.00     Credit               Fed Wire In 012041 (CHEN Ran‐5)         W012041 0303
  3/3/2014    $125,025.00     Credit            Fed Wire In 012009 (KANG Yajun‐33)         W012009 0303
  3/4/2014    $125,025.00     Credit            Fed Wire In 011291 (KANG Yajun‐33)         W011291 0304
  3/5/2014    $125,025.00     Credit            Fed Wire In 003776 (KANG Yajun‐33)         W003776 0305
  3/5/2014    $500,000.00     Credit    Account Transfer From XXXXXX8469 (HONGRU Pan‐42)       SARC
  3/6/2014    $125,025.00     Credit            Fed Wire In 003917 (KANG Yajun‐33)         W003917 0306
 3/11/2014   ($500,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     3/11/2014     Fed Wire Out 021694                  LRE 1st United
 3/17/2014   ($500,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     3/17/2014     Fed Wire Out 011911                  LRE 1st United
 3/20/2014     $89,968.00     Credit        Fed Wire In 005351 (Shahryar Ebrahimian‐55)    W005351 0320
 3/24/2014    $500,035.00     Credit          Fed Wire In 006578 (KUANG YAOPING‐9)         W006578 0324
 3/24/2014   ($500,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     3/24/2014     Fed Wire Out 022513                160 RP LLC Regions
 3/25/2014    $500,000.00     Credit              Fed Wire In 004289 (SHU XIANG‐6)         W004289 0325
 3/26/2014    $500,085.00     Credit             Fed Wire In 007386 (WEI Rujing‐37)        W007386 0326
 3/27/2014    $500,000.00     Credit              Fed Wire In 009357 (ZHANG LI‐49)         W009357 0327
 3/27/2014    $500,025.00     Credit               Fed Wire In 016568 (ZHU Bei‐10)         W016568 0327
 3/27/2014   ($500,000.00)    Debit                Account Transfer To XXXXXX8336            PHH LLLP     3/27/2014     Fed Wire Out 023580                  LRE 1st United



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 4/2/2014      $500,025.00     Credit         Fed Wire In 008455 (GAN Zhiling‐13)      W008455 0402
 4/3/2014   ($1,500,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      4/3/2014      Fed Wire Out 029621                     LRE 1st United
 4/4/2014      $260,050.00     Credit            Fed Wire In 009722 (CUI Min‐22)       W009722 0404
 4/8/2014      $499,950.00     Credit          Account Transfer From XXXXXX8469            SARC
 4/9/2014      $500,024.00     Credit          Fed Wire In 006506 (FENG Liyan‐20)      W006506 0409
 4/9/2014           $50.00     Credit          Account Transfer From XXXXXX8469            SARC
 4/9/2014          ($50.00)    Debit             Account Transfer To XXXXXX8469            SARC        4/10/2014    Transfer to XXXXXX7626                       SARC
 4/9/2014     ($500,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      4/9/2014      Fed Wire Out 020320                     LRE 1st United
4/10/2014           $50.00     Credit          Account Transfer From XXXXXX8469            SARC
4/10/2014      $500,085.00     Credit            Fed Wire In 021409 (FEI Ying‐52)      W021409 0410
4/11/2014      $500,075.00     Credit       Fed Wire In 011715 (XIANG Chunhua‐8)       W011715 0411
4/11/2014      ($35,000.00)    Debit             Account Transfer To XXXXXX5606          USREDA
4/14/2014      $500,100.00     Credit             Fed Wire In 007062 (LI Ruji‐23)      W007062 0414
4/14/2014      $500,050.00     Credit       Fed Wire In 007884 (ZHU Qiongfang‐12)      W007884 0414
4/16/2014      $500,078.00     Credit             Fed Wire In 006537 (LI Min‐40)       W006537 0416
4/16/2014   ($1,000,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      4/16/2014     Fed Wire Out 025072                   160 RP LLC Regions
4/17/2014      $500,024.00     Credit            Fed Wire In 006649 (LOU Hao‐7)
4/23/2014      $500,050.00     Credit         Fed Wire In 006691 (DENG Qiong‐14)       W006691 0423
4/23/2014      $500,050.00     Credit           Fed Wire In 009634 (LI Cuilian‐11)     W009634 0423
4/24/2014   ($1,000,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      4/24/2014     Fed Wire Out 032135                     LRE 1st United
4/25/2014      $240,050.00     Credit            Fed Wire In 009639 (CUI Min‐22)       W096939 0425
4/28/2014      $500,050.00     Credit       Fed Wire In 006170 (ZENG Shaoqing‐21)      W006170 0428
4/28/2014      $500,085.00     Credit        Fed Wire In 008555 (ZHOU Juewei‐39)       W008555 0428
4/28/2014      $199,803.00     Credit    Fed Wire In 016893 (Shahryar Ebrahimian‐55)   W016893 0428
4/28/2014      $500,035.00     Credit           Fed Wire In 020101 (CHEN Yan‐35)       W020101 0428
4/28/2014      $500,035.00     Credit        Fed Wire In 022091 (TANG Yulong‐15)       W022091 0428
4/28/2014      $500,035.00     Credit         Fed Wire In 027861 (GU Chengyu‐34)       W027861 0428
4/29/2014   ($2,000,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      4/29/2014   Fed Wire Out 033679 & 80   160 RP LLC Regions (1M) & LRE 1st United (1M)
4/29/2014     ($199,803.00)    Debit             Account Transfer To XXXXXX5606           USREDA
4/30/2014      $199,803.00     Credit          Account Transfer From XXXXXX5606        SARC (USREDA)
 5/5/2014   ($1,000,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      5/5/2014      Fed Wire Out 033369                     LRE 1st United
 5/6/2014     ($384,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      5/6/2014     Transfer to XXXXXX5593                    USREDA PNC
 5/7/2014      $500,100.00     Credit    Fed Wire In 008965 (WANG SHUANGYUN‐17)        W008965 0507
5/12/2014      $500,085.00     Credit          Fed Wire In 015954 (JIANG Shu‐51)       W015954 0512
5/12/2014      $500,035.00     Credit         Fed Wire In 022248 (YU QingYun‐24)       W022248 0512
5/13/2014      $100,000.00     Credit        Fed Wire In 005222 (Tan Cheok Fai‐59)     W005222 0513
5/13/2014   ($1,000,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      5/13/2014     Fed Wire Out 024628                   160 RP LLC Regions
5/15/2014      $500,050.00     Credit        Fed Wire In 007938 (YANG Yingjun‐26)      W007938 0515
5/15/2014      $400,000.00     Credit        Fed Wire In 006413 (Tan Cheok Fai‐59)     W006413 0515
5/16/2014      $500,035.00     Credit           Fed Wire In 013995 ZHANG Lili‐16)      W013995 0516
5/19/2014      $500,050.00     Credit        Fed Wire In 004220 (WENG Daqin‐28)         W04220 0519
5/19/2014     ($349,975.00)    Debit             Account Transfer To XXXXXX5606           USREDA
5/22/2014   ($1,000,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      5/22/2014     Fed Wire Out 025033                     LRE 1st United
5/27/2014      $500,050.00     Credit      Fed Wire In 009134 (ZHANG Xiaoping‐29)      W009134 0527
5/27/2014     ($480,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      5/27/2014    Transfer to XXXXXX5593                    USREDA PNC
 6/2/2014      $499,980.00     Credit      Fed Wire In 029693 (PEYRA Ali Adam‐61)      W0209693 0602
 6/4/2014   ($1,000,000.00)    Debit             Account Transfer To XXXXXX8336          PHH LLLP      6/4/2014      Fed Wire Out 014657                   160 RP LLC Regions



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  6/5/2014   $500,035.00      Credit              Fed Wire In 032319 (LI Ling‐25)           W032319 0605
 6/10/2014   $500,025.00      Credit           Fed Wire In 010519 (LIU Baoping‐27)          W010519 0610
 6/10/2014 ($1,000,000.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       6/10/2014      Fed Wire Out 031271             LRE 1st United
                                        Corporate ACH Sender Herischi & Assoc. XXXXX5790
 6/11/2014    $210,197.00     Credit                (Shahryar Ebrahimian‐55)               14162003 105532
 6/19/2014 ($1,000,000.00)    Debit             Account Transfer To XXXXXX8336                 PHH LLLP      6/19/2014      Fed Wire Out 021642           160 RP LLC Regions
 6/20/2014   ($656,250.00)    Debit             Account Transfer To XXXXXX8336                 PHH LLLP      6/20/2014     Transfer to XXXXXX5593            USREDA PNC
 6/24/2014   ($750,000.00)    Debit             Account Transfer To XXXXXX8336                 PHH LLLP      6/24/2014      Fed Wire Out 015846           160 RP LLC Regions
 6/26/2014   ($187,500.00)    Debit             Account Transfer To XXXXXX8336                 PHH LLLP      6/26/2014     Transfer to XXXXXX5593            USREDA PNC
 6/30/2014   ($187,500.00)    Debit             Account Transfer To XXXXXX8336                 PHH LLLP      6/30/2014     Transfer to XXXXXX5593            USREDA PNC
  7/2/2014       $120.00      Credit           Account Transfer From XXXXXX8469                 SARC
  7/2/2014   ($750,000.00)    Debit             Account Transfer To XXXXXX8336                 PHH LLLP       7/2/2014      Fed Wire Out 031897           160 RP LLC Regions
  7/7/2014    ($93,750.00)    Debit             Account Transfer To XXXXXX8336                 PHH LLLP       7/7/2014     Transfer to XXXXXX5593             USREDA PNC
                                                                                                                          Transfer to XXXXXX5593 &     USREDA PNC ($187,500) &
 7/10/2014   ($937,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       7/10/2014      Fed Wire Out 016788      160 RP LLC Regions ($750,000)
 7/18/2014   ($750,000.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       7/18/2014      Fed Wire Out 034266           160 RP LLC Regions
 7/21/2014   ($468,750.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       7/21/2014     Transfer to XXXXXX5593             USREDA PNC
 7/30/2014   ($187,000.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       7/30/2014     Transfer to XXXXXX5593             USREDA PNC
  8/8/2014    ($93,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP        8/8/2014     Transfer to XXXXXX5593             USREDA PNC
                                                                                                                          Transfer to XXXXXX5593 &     USREDA PNC ($187,500) &
 8/11/2014   ($687,000.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       8/11/2014      Fed Wire Out 018783      160 RP LLC Regions ($500,000)
 8/15/2014    ($93,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       8/15/2014     Transfer to XXXXXX5593             USREDA PNC
 8/25/2014   ($187,000.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       8/25/2014     Transfer to XXXXXX5593             USREDA PNC
 8/27/2014   ($280,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       8/27/2014     Transfer to XXXXXX5593             USREDA PNC
 8/28/2014    $500,050.00     Credit        Fed Wire In 006101 (Huang Shaoping‐30)            PHH LLLP
  9/2/2014     $50,000.00     Credit               Fed Wire In 009619 (Yi Bo)                 PHH LLLP
  9/2/2014     $49,485.00     Credit             Fed Wire In 011662 (Wang Lin)                PHH LLLP
  9/2/2014   ($562,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP        9/2/2014     Transfer to XXXXXX5593            USREDA PNC
  9/3/2014     $50,030.00     Credit           Fed Wire In 007349 (Emerald East)              PHH LLLP
  9/4/2014     $39,985.00     Credit        Book Transfer Credit 037890 (Wane Jue)            PHH LLLP
  9/4/2014     $49,985.00     Credit            Fed Wire In 006199 (Li Xue Mei)               PHH LLLP
  9/5/2014   ($280,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP        9/5/2014     Transfer to XXXXXX5593            USREDA PNC
  9/9/2014     $49,985.00     Credit             Fed Wire In 007557 (Fu Huixia)               PHH LLLP
 9/10/2014     $59,975.00     Credit            Fed Wire In 004674 (Li Zhoulang)              PHH LLLP
 9/10/2014     $49,998.00     Credit           Fed Wire In 005025 (Gong Yanwei)               PHH LLLP
 9/12/2014    $140,000.00     Credit            Fed Wire In 004129 (Li Zhoulang)              PHH LLLP
 9/12/2014     $10,700.00     Credit          Fed Wire In 006852 (Zhang Yanfang)              PHH LLLP
 9/26/2014   ($187,000.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       9/26/2014     Transfer to XXXXXX5593            USREDA PNC
 9/29/2014    $500,000.00     Credit          Fed Wire In 018453 (Huynh Vu Hieu)              PHH LLLP
 9/29/2014   ($187,000.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       9/29/2014     Transfer to XXXXXX5593            USREDA PNC
 10/2/2014    ($93,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       10/2/2014     Transfer to XXXXXX5593            USREDA PNC
 10/6/2014    ($93,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       10/6/2014     Transfer to XXXXXX5593            USREDA PNC
 10/7/2014    $500,008.00     Credit       Fed Wire In 006893 (Sara (Reza) Salehin‐57)        PHH LLLP
 10/9/2014    $500,020.00     Credit            Fed Wire In 020368 (Yi Zhao‐31)               PHH LLLP
 10/9/2014    ($93,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       10/9/2014     Transfer to XXXXXX5593            USREDA PNC
10/14/2014       $100.00      Credit         Fed Wire In 017051 (Mak Commercial)              PHH LLLP
10/14/2014   ($280,500.00)    Debit             Account Transfer To XXXXXX8336                PHH LLLP       10/14/2014    Transfer to XXXXXX5593            USREDA PNC



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   DATE       AMOUNT         ACTIVITY               DESCRIPTION                 REF#/NOTE    DATE OUT          DESCRIPTION                                TO
10/15/2014   ($187,000.00)    Debit       Account Transfer To XXXXXX8336         PHH LLLP   10/15/2014    Transfer to XXXXXX5593                      USREDA PNC
10/15/2014    ($93,500.00)    Debit       Account Transfer To XXXXXX8336         PHH LLLP   10/15/2014    Transfer to XXXXXX5593                      USREDA PNC
10/30/2014    $500,024.00     Credit    Fed Wire In 006998 (Liu Changyue‐32)     PHH LLLP
 11/3/2014   ($304,959.44)    Debit                  Withdrawal
 11/7/2014   ($561,000.00)    Debit       Account Transfer To XXXXXX5593        USREDA       11/7/2014     Fed Wire Out 023414          Carbolosic Plant 659195528 ($500,000)
11/10/2014    ($35,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    11/10/2014     Fed Wire Out 011629          Kaplan & Sconzo 918436254 (JPMorgan)
11/12/2014   ($306,690.71)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    11/12/2014    Transfer to XXXXXX5593                     USREDA PNC
11/25/2014   ($467,500.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    11/25/2014    Transfer to XXXXXX5593                     USREDA PNC
 12/8/2014    ($36,500.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP     12/8/2014     Fed Wire Out 016079                       USREDA PNC
12/11/2014   ($187,000.00)    Credit      Account Transfer To XXXXXX8336        PHH LLLP    12/11/2014    Transfer to XXXXXX5593                     USREDA PNC
12/17/2014   ($304,959.44)    Debit                  Withdrawal
12/23/2014   ($374,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    12/23/2014    Transfer to XXXXXX5593                      USREDA PNC
12/30/2014   ($187,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    12/30/2014    Transfer to XXXXXX5593                      USREDA PNC
  1/8/2015    ($93,500.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP     1/8/2015     Transfer to XXXXXX5593                      USREDA PNC
 1/14/2015   ($304,959.44)    Debit                  Withdrawal
 1/14/2015    ($93,500.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    1/14/2015     Transfer to XXXXXX5593                      USREDA PNC
 1/15/2015    ($93,500.00)    Debit       Account Transfer To XXXXXX5593        USREDA        Various       Various deductions
 1/16/2015    ($93,500.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    1/16/2015     Transfer to XXXXXX5593                     USREDA PNC
 1/26/2015    ($77,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    1/26/2015     Transfer to XXXXXX5593                     USREDA PNC
 2/18/2015   ($150,000.00)    Debit       Account Transfer To XXXXXX5593        USREDA      2/18/2015      Fed Wire Out 029576           Connect Insurance Group 1215678534
  3/2/2015   ($140,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    3/2/2015      Transfer to XXXXXX5593                     USREDA PNC
  3/3/2015    ($40,000.00)    Debit       Account Transfer To XXXXXX8469         SARC        3/3/2015    Check 1130‐Return of Admin                   Ning Yang
  3/3/2015    ($37,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    3/3/2015      Transfer to XXXXXX5593                     USREDA PNC
  3/4/2015    ($80,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP     3/4/2015     Transfer to XXXXXX5593                     USREDA PNC
  3/5/2015   ($200,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP     3/5/2015     Transfer to XXXXXX5593                     USREDA PNC
  3/5/2015   ($100,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP     3/5/2015     Transfer to XXXXXX5593                     USREDA PNC
  3/9/2015   ($250,000.00)    Debit       Account Transfer To XXXXXX5593        USREDA       3/9/2015      Fed Wire Out 024571        Rand Rosenzweig Radley & Gordon LLP 021909300
 3/10/2015   ($200,000.00)    Debit       Account Transfer to XXXXXX5593        USREDA        Various       Various deductions
 3/10/2015    ($30,000.00)    Debit       Account Transfer to XXXXXX5593        USREDA        Various       Various deductions
 3/13/2015   ($250,000.00)    Debit       Account Transfer To XXXXXX8469          SARC      3/13/2015       Fed Wire Out 35679        Alliance BioEnergy Plus (JPMorgan 267084131)
 3/16/2015   ($200,000.00)    Debit       Account Transfer To XXXXXX5593        USREDA        Various       Various deductions
 3/19/2015    ($50,000.00)    Debit       Account Transfer To XXXXXX8336        PHH LLLP    3/19/2015     Tranfer to XXXXXX5593                       USREDA PNC
 3/25/2015    $399,975.00     Credit    Fed Wire In 007221 (Sanaz Salehin‐58)   PHH LLLP
 3/25/2015   ($400,000.00)    Debit       Account Transfer To XXXXXX5593        USREDA       Various        Various deductions
 3/27/2015   ($175,000.00)    Debit       Account Transfer To XXXXXX5593        USREDA       Various        Various deductions
 3/30/2015    $100,005.00     Credit    Fed Wire In 008731 (Sanaz Salehin‐58)   PHH LLLP
  4/2/2015   ($100,000.00)    Debit       Account Transfer To XXXXXX5593        USREDA       Various        Various deductions




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